Case 5:18-mr-00320-.]I\/|C Document 3 Filed 04/18/18 Page 1 of 2

AO 93 (Rev. ll/l3)Search and Seizure Warrant UN|TED STATES D|ST*
RGSWHE .'\=Ii'z@ §§ Xl(`,O

UNITED STATES DISTRICT CoURT APR 18 2018

 

 

for the
District ofNew Mexico MATTH E\/\/ J_ DYKMAN

C L E R K
In the Matter of the Search of )
(Briefly describe the property to be searched )

or identifv the person by name and address) ) Cage NO_ / X /]/] L- /S<Q`O
The person of Robert SANCHEZ, born in 1973 )
social security Number XXX-XX-XXXX )
)

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the District of NeW Mexico
(identi]j) the person or describe the property to be searched and give its location)!

The person of Robert SANCHEZ, born in 1973, Socia| Security Number XXX-XX-XXXX.

 

l find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such Search will reveal (idennfj) the person or describe the property to be seized):

DNA samples in the form of bucca| swabs from the person of Robert SANCHEZ,

YOU ARE COMMANDED to execute this warrant on or before Apri| 30, 2018 (not to exceed 14 days)
Qf in the daytime 6:00 a.m. to 10:00 p.m. CI at any time in the day or night because good cause has been established

 

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to Joe| m. Carson |||
(United States Magistrate Judge)

 

Cl Pursuant to 18 U.S.C. § 3103a(b), l find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose

p!‘Op€¥'ty, Will be_)€ar€h€d 01‘ S€iZed (check the appropriate box)

El for days (not to exceed 30) I:l until, the facts justifying, the lat pecific date of
i~\°"|*"
Date and time issued: 9 ’ ib ' fx M' (~/J

 

 

l Judge ’s signature

City and gram Roswe||, New Mexico Joe| M. Carson ||l, U.S. Magistrate Judge

 

 

Printed name and title

Case 5:18-mr-00320-.]I\/|C Document 3 Filed 04/18/18 Page 2 of 2

AO 93 (Rev. l 1/13) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

//-/7‘-/§§ aOZQ< dora/ear §`n/uc/J./:L

 

 

 

Inventory made in the presence of :

/\Ie/) t%/€)¢)<;/{eE/d

Inventory of the property taken and name of any person(s) seized:

:Q @UCCH& 5£<]}4@§ 7;/(0)"/ T/`~i£' /g,€§p/</
Z>F r€r/§e/€‘T earner/52

 

 

Certification

 

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date: /’i" l%` /<6 i%l` / M

y{/ W \ V Executing ojjicer ’s signature

H MT`T ;4'6 bd 14 Mrtr`b §e proc sane c gram

Printed name and title

 

 

